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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 TODD COURSER,

           Plaintiff,                             Case No. 1:16−cv−01108−GJQ−PJG

     v.

 KEITH ALLARD, et al.,

           Defendants.
                                           /

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